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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

UNITED STATES OF AMERICA,      )               CR 11-58-M-DWM
                               )
               Plaintiff,      )
                               )
     vs.                       )                     ORDER
                               )
BRIAN DOUGLAS GILL,            )
                               )
               Defendant.      )
______________________________ )

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 5, 2012. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

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422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Brian Douglas Gill’s guilty

plea after Gill appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to one count of investment fraud in

violation of 18 U.S.C. § 1343, 2 (Count II), and one count of money laundering in

violation of 18 U.S.C. § 1957(a) (Count V) as set forth in the Indictment. In

exchange for Defendant’s plea, the United States has agreed to dismiss Counts I,

III, and IV of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (doc.

99), and I adopt them in full, including the recommendation to defer acceptance of

the plea until sentencing when the Court will have reviewed the Presentence

Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Brian Douglas Gill’s motion

to change plea (doc. 88) is GRANTED.

      DATED this 26th day of September, 2012.




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